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      &ODVV5HIULJHUDWRUV²VXFKDVSULQWPHGLDWHOHYLVLRQUDGLRRQOLQHDGYHUWLVLQJSURGXFW
      LQVHUWVDQGLQVWRUHSURPRWLRQDOPDWHULDO´ Id
              2Q-XO\WKH3DUWLHVPHWDQGFRQIHUUHGWRGLVFXVV/*¶VZULWWHQUHVSRQVHVDQG
     REMHFWLRQVWRWKH5)3V'XULQJWKH3DUWLHV¶PHHWDQGFRQIHUGLVFXVVLRQFRXQVHOIRU
     3ODLQWLIIVUHTXHVWHGIURP/*DGDWHRIFRPSOHWLRQIRUWKHUHPDLQLQJGRFXPHQWV
     UHVSRQVLYHWR5HTXHVWV1RVDQGDQGDVNHG L ZKHWKHU3ODLQWLIIVVKRXOGH[SHFWD
     IXUWKHUSURGXFWLRQIURP/*LQUHVSRQVHWR5HTXHVWV1RVDQGDQG LL ZKHWKHU/*
     LVZLWKKROGLQJGRFXPHQWVRQWKHEDVLVRIDQ\RILWVREMHFWLRQVWR3ODLQWLIIV¶5)3VId
     
              2QWKDWFDOOFRXQVHOIRU/*DVNHGIRUDGGLWLRQDOLQIRUPDWLRQDERXWWKHQDWXUHRI
     WKH³GHIHFW´3ODLQWLIIVDOOHJHDQGH[SODLQHGWKDW3ODLQWLIIV¶GHILQLWLRQRIWKH³GHIHFW´LQWKLV
     FDVHLPSDFWV/*¶VVHDUFKIRUGRFXPHQWVUHVSRQVLYHWRVHYHUDORIWKH5HTXHVWVLQFOXGLQJ
     E\ZD\RIH[DPSOH5HTXHVW1R 'RFXPHQWVWRVKRZWKH³QXPEHURIFRQVXPHUVZKR
     KDYHFRPSODLQHGRI&RPSUHVVRU)DLOXUH´ 1R 'RFXPHQWV³UHIOHFWLQJ>/*¶V@WHVWLQJ
     RIWKH6HDOHG6\VWHP 1R ³3ROLFLHVSURFHGXUHVSUDFWLFHVIRUUHVSRQGLQJWR
     &RPSUHVVRU)DLOXUHFRPSODLQWVDQGZDUUDQW\FODLPVUHFHLYHGZLWKLQWKHZDUUDQW\
     SHULRG´ DQG1R ³3ROLFLHVSURFHGXUHVSUDFWLFHVIRUUHVSRQGWR&RPSUHVVRU)DLOXUH
     FRPSODLQWVDQGZDUUDQW\FODLPVUHFHLYHGRXWVLGHWKHZDUUDQW\SHULRG´ DPRQJRWKHUV
     Id)RUH[DPSOH/*H[SODLQHGWKDWFXVWRPHUVPD\QRWFDOOLQIRUUHSDLUVEHFDXVHRI
     D³FRPSUHVVRU´LVVXHEXWVLPSO\EHFDXVHWKHUHIULJHUDWRULVQRWFRROLQJSURSHUO\Id
     &RXQVHOIRU3ODLQWLIIVDFNQRZOHGJHGVHYHUDORIFRXQVHOIRU/*¶VSRLQWVGXULQJWKLVPHHW

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               -2,1767,38/$7,215(*$5',1*3/$,17,))6¶027,2172&203(/
                              &DVH1RFY-/6 $'6[ 
     Case 8:19-cv-00610-JLS-ADS Document 38 Filed 09/06/19 Page 7 of 33 Page ID #:390

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      DQGFRQIHUDQGVXJJHVWHGWKDW/*PLJKWLQWHUQDOO\FDWHJRUL]HZDUUDQW\FODLPVLQFOXGLQJ
      WKURXJKWKHXVHRILQWHUQDOFRGHVLQDPDQQHUWKDWZRXOGKHOSWRLGHQWLI\GRFXPHQWV
      UHODWLQJWRWKHSXUSRUWHGGHIHFWId
             &RXQVHOIRU/*LQGLFDWHGWKDWWKH\QHHGHGWRIXUWKHUGLVFXVVWKHVFRSHRIWKHVH
      5HTXHVWVZLWKWKHLUFOLHQWLQFOXGLQJSRWHQWLDOPHDQVIRUQDUURZLQJ/*¶VVHDUFKDQG
      ZKHWKHUXVLQJLQWHUQDOFRGHVPLJKWKHOS/*GRVRId&RXQVHOIRU/*DOVR
      LQGLFDWHGWKDWLWZRXOGUHVSRQGWR3ODLQWLIIVLQZULWLQJRQWKHVHLVVXHV LQFOXGLQJLI
      SRVVLEOHDQHVWLPDWHGFRPSOHWLRQGDWHIRUSURGXFWLRQLQUHVSRQVHWR5HTXHVW1RDQG
      5HTXHVW1R DVZHOODVDGGLWLRQDOLVVXHVZLWKUHVSHFWWRWKHVFRSHRI3ODLQWLIIV¶
     5HTXHVWVId7KH3DUWLHVKDYHQRW\HWILQDOL]HGWKHVWLSXODWHGSURWHFWLYHRUGHU
     DQGRUHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQSURWRFROLQWKLVFDVH
            3ODLQWLIIVQRZVHHNWRSUHPDWXUHO\ILOHDPRWLRQWRFRPSHOWKHSURGXFWLRQRI
     GRFXPHQWVLQWKLVFDVHZKHQWKHSDUWLHVKDYHQRW\HWUHDFKHGLPSDVVHDQG/*UHPDLQV
     ZLOOLQJDQGUHDG\WRPHHWDQGFRQIHUDERXWWKHDSSURSULDWHVFRSHRIGLVFRYHU\DIWHU
     QHDUO\VL[ZHHNVGHGLFDWHGWRSUHSDULQJIRUDQGHQJDJLQJLQWZRVHSDUDWHPHGLDWLRQ
     VHVVLRQVZLWK3ODLQWLIIV,QGHHG3ODLQWLIIV¶VWDWHPHQWVXJJHVWVZLWKRXWH[SUHVVO\VD\LQJ
     WKDW/*KDVXQGXO\GHOD\HGLQPDNLQJDSURGXFWLRQRIUHVSRQVLYHGRFXPHQWV7KDWLV
     LQFRUUHFW3ODLQWLIIV¶VWDWHPHQWRPLWVFHUWDLQLQIRUPDWLRQWKDWSXWVWKHSDUWLHV¶HIIRUWV
     RYHUWKHSDVWZHHNVLQSURSHUFRQWH[W
            )LUVWIURPWKHWLPH3ODLQWLIIVILOHGWKHLU&RPSODLQWWKH3DUWLHVKDYHHQJDJHGLQ
     GLVFXVVLRQVUHJDUGLQJSRWHQWLDOUHVROXWLRQ2Q$XJXVWDQG$XJXVWWKH3DUWLHV
     SDUWLFLSDWHGLQWZRPHGLDWLRQVHVVLRQVEHIRUHWKH+RQRUDEOH-D\*DQGKL 5HW Id
     $OWKRXJK3ODLQWLIIV¶FRXQVHOPDGHFOHDUWKDWWKH\GLGQRWYLHZWKHPHGLDWLRQVHVVLRQVDVD
     MXVWLILFDWLRQIRUDQ\GHOD\LQGLVFRYHU\/*¶VFRXQVHOUHSHDWHGO\PDGHFOHDULQUHVSRQVH
     WKDWSUHSDULQJIRUPHGLDWLRQDVDSUDFWLFDOPDWWHUZRXOGUHVXOWLQPRUHWLPHEHLQJ
     QHHGHGWRUHVROYHGLVFRYHU\LVVXHVId,QRWKHUZRUGV/*ZRXOGEHIRFXVHGRQORFDWLQJ
     DQGVKDULQJZLWK3ODLQWLIIVWKHLQIRUPDWLRQWKH\UHTXHVWHGWRPHDQLQJIXOO\SDUWLFLSDWHLQ
     PHGLDWLRQ&RXQVHOIRU/*WKXVSUHSDUHGIRUPHGLDWLRQDQGSURYLGHGFHUWDLQ

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            -2,1767,38/$7,215(*$5',1*3/$,17,))6¶027,2172&203(/
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     Case 8:19-cv-00610-JLS-ADS Document 38 Filed 09/06/19 Page 8 of 33 Page ID #:391

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      LQIRUPDWLRQ3ODLQWLIIVKDGUHTXHVWHGLQFRQQHFWLRQZLWKDQGSULRUWRWKRVHPHGLDWLRQ
      VHVVLRQVQId
               6HFRQGLQDGGLWLRQWRWKHPDWWHUSHQGLQJLQWKLV&RXUW3ODLQWLIIV¶FRXQVHOILOHGD
      VLPLODUFRPSUHVVRUUHODWHGFODVVDFWLRQDJDLQVW/*LQ1HZ-HUVH\'LVWULFW&RXUWRQ-XQH
      DVVHUWLQJDQDWLRQZLGHFODVV2Q-XQH3ODLQWLIIVDGGHGD&DOLIRUQLD
      3ODLQWLIIWRWKDWDFWLRQPDNLQJWKHDOOHJDWLRQVRYHUODSZLWKWKLVFDVHSeeBentley, et al.
      v. LG Electronics USA, Inc.,&DVH1RFY0&$0$+,QDGGLWLRQWZR
      RWKHUFODVVDFWLRQVZLWKVLPLODUO\RYHUODSSLQJDOOHJDWLRQVDOVRZHUHILOHGDJDLQVW/*E\
      RWKHUFRXQVHOSee Stangle, et al. v. LG Electronics86$,QF1RFY
         '1--XO\  WKH³StangleDFWLRQ´ DQGTabora, et al. v. LG Electronics
     86$,QF1RFY '1--XO\  WKH³TaboraDFWLRQ´ 
         FROOHFWLYHO\³WKH1HZ-HUVH\$FWLRQV´ %HFDXVHRIWKH1HZ-HUVH\$FWLRQV
     'HIHQGDQW¶VFRXQVHOKDVEHJXQGLVFXVVLQJFRQFHUQVDERXWRYHUODSSLQJDQGGXSOLFDWLYH
     GLVFRYHU\ZLWK3ODLQWLIIV¶FRXQVHO6SHFLILFDOO\WKH3DUWLHVKDYHGLVFXVVHGFRQVROLGDWLRQ
     RIWKH1HZ-HUVH\$FWLRQVEXWWKH3DUWLHVKDYHQRW\HWUHDFKHGDQ\DJUHHPHQWV
     'HIHQGDQWWKHUHIRUHKDVOHJLWLPDWHSUDFWLFDODQGORJLVWLFDOFRQFHUQVUDLVHGE\WKHILOLQJ
     RIRYHUODSSLQJDQGGXSOLFDWLYHDFWLRQVLQDQRWKHUMXULVGLFWLRQWKDWVKRXOGEHDGGUHVVHG
     EHIRUHGLVFRYHU\FDQSURFHHGKHUH
              ,QVKRUW/*¶VYLHZLVWKDWWKLVPRWLRQLVSUHPDWXUHDQGXQQHFHVVDU\$Q\GHOD\
     RQWKHSDUWRI/*LQUHVSRQGLQJWR3ODLQWLIIV¶GLVFRYHU\UHTXHVWVKHUHLVWKHUHVXOWRI/*¶V
     IRFXVRQHDUO\UHVROXWLRQDQGRQH[FKDQJLQJLQIRUPDWLRQIRUPHGLDWLRQSXUSRVHVDVZHOO
     DVWKHORJLVWLFDOFRPSOH[LW\LQWURGXFHGE\WKH1HZ-HUVH\DFWLRQVRQHRIZKLFK
     3ODLQWLIIV¶FRXQVHOKDVILOHG/*XQGHUVWDQGVWKDW3ODLQWLIIV¶FRXQVHODUHDJJUHVVLYHO\
     DWWHPSWLQJWRPRYHWKLVFDVHIRUZDUGDQGWRFUHDWHDUHFRUGRIKDYLQJGRQHVR%XWLWLV
     FULWLFDOWRQRWHWKDW/*KDVEHHQUHDVRQDEOHDQGZRUNLQJLQJRRGIDLWKZLWK3ODLQWLIIV¶
     FRXQVHODQGH[SHFWVWRFRQWLQXHWRGRVRLQRUGHUWRHQDEOHWKH3DUWLHVWRPHHWWKH
     DJJUHVVLYHVFKHGXOHVHWE\WKH&RXUW7KDWVDLGWKH3DUWLHV¶PHHWDQGFRQIHUGLVFXVVLRQV
     DERXW3ODLQWLIIV¶GLVFRYHU\UHTXHVWVDQGDERXWWKHUHODWLRQVKLSEHWZHHQWKHGLVFRYHU\LQ

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                              &DVH1RFY-/6 $'6[ 
     Case 8:19-cv-00610-JLS-ADS Document 38 Filed 09/06/19 Page 9 of 33 Page ID #:392

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      WKLVFDVHDQGGLVFRYHU\LQWKH1HZ-HUVH\$FWLRQVDUHRQJRLQJDQGVKRXOGEHDOORZHGWR
      FRPHWRFRPSOHWLRQEHIRUHDQ\GLVFRYHU\PRWLRQLVILOHG
      ,,     63(&,),&,668(6,1',6387(
              3ODLQWLIIVVHHNDQRUGHUFRPSHOOLQJ/*WRFRPSO\ZLWKWKHUHTXLUHPHQWVRI)HG5
      &LY3 E  % DQG & DQGSURGXFHGRFXPHQWVUHVSRQVLYHWR5HTXHVWVIRU
      3URGXFWLRQ1RV௅RI3ODLQWLIIV¶)LUVW6HWRI5HTXHVWVIRU3URGXFWLRQRI'RFXPHQWV
               $    )HG5&LY3 E  %  & 
                      a.     End date for production
                                 3ODLQWLIIV¶3RVLWLRQ
              /*GRHVQRWVSHFLI\DQHQGGDWHIRUSURGXFWLRQRIPDWHULDOVUHVSRQVLYHWR
     3ODLQWLIIV¶)LUVW6HWRI5)3V/*PXVWGLVFORVHZKHQLWZLOOFRPSOHWHLWVSURGXFWLRQSee
     )HG5&LY3 E  %  SURYLGLQJWKDW³SURGXFWLRQPXVWEHFRPSOHWHGQRODWHU
     WKDQWKHWLPHIRULQVSHFWLRQVSHFLILHGLQWKHUHTXHVWRUDQRWKHUUHDVRQDEOHWLPHVSHFLILHG
     LQWKHUHVSRQVH´ Grace v. Apple, Inc.1RFY/+.1&$PHQGHG2UGHU
     RQ'LVFRYHU\'LVSXWHVDW௅'RF 1'&DO1RY  RUGHULQJ
     GHIHQGDQWWRPHHWVSHFLILFGHDGOLQHVIRUSURGXFLQJHDFKFDWHJRU\RIUHVSRQVLYH
     GRFXPHQWV seealsoFischer v. Forrest1RFY:/DW 
         6'1<)HE  UHVSRQVHVWRGRFXPHQWUHTXHVWVPXVW³>V@SHFLI\WKHWLPHIRU
     SURGXFWLRQDQGLIDUROOLQJSURGXFWLRQZKHQSURGXFWLRQZLOOEHJLQDQGZKHQLWZLOOEH
     FRQFOXGHG´ 
              7KHIROORZLQJ5HTXHVWVDQG5HVSRQVHVDUHDWLVVXH
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                WRWKLV5HTXHVWRQWKHJURXQGWKDWLWLVYDJXHDQGDPELJXRXVRYHUEURDGDVWR
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                WLPH DQG VFRSH XQGXO\ EXUGHQVRPH DQG VHHNV LQIRUPDWLRQ WKDW LV QHLWKHU
              UHOHYDQW QRU SURSRUWLRQDO WR WKH QHHGV RI WKLV FDVH /* REMHFWV WR WKLV
              5HTXHVW RQ WKH JURXQGV WKDW WKH GHILQLWLRQV RI &RPSUHVVRU )DLOXUH DQG
                /* 5HIULJHUDWRUV DV YDJXH DPELJXRXV DQG RYHUO\ EURDG 7R WKH H[WHQW
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               -2,1767,38/$7,215(*$5',1*3/$,17,))6¶027,2172&203(/
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        &RPSUHVVRU )DLOXUH LV GHILQHG E\ WKH DOOHJDWLRQV VHW IRUWK LQ WKH
         &RPSODLQW/*REMHFWVRQWKHJURXQGVWKDWVXFKDOOHJDWLRQVDUHLQVXIILFLHQW
        WRHVWDEOLVKDGHIHFW7KHDSSURSULDWHVFRSHRIGLVFRYHU\LQWKLVFDVHGHSHQGV
        XSRQWKHH[LVWHQFHRIDGHIHFWLQ/* VUHIULJHUDWRUVDQGVXFKGHIHFWPXVWEH
         DGHTXDWHO\DOOHJHGDQGGHILQHG,QSDUWLFXODU/*REMHFWVEHFDXVH3ODLQWLIIV

         PDNH QR HIIRUW WR EH UHDVRQDEOH ZLWK UHVSHFW WR WKH PRGHOV RI WKH /*
        5HIULJHUDWRUV 3ODLQWLIIV DUH UHIHUHQFLQJ /* DOVR REMHFWV WR WKH WHUP
        DQDO\VLV DV YDJXH DPELJXRXV DQG XQGHILQHG /* IXUWKHU REMHFWV WR WKLV
         5HTXHVW WR WKH H[WHQW LW VHHNV LQIRUPDWLRQ SURWHFWHG E\ WKH DWWRUQH\FOLHQW
        SULYLOHJH ZRUN SURGXFW GRFWULQH RU DQ\ RWKHU DSSOLFDEOH SULYLOHJH
        LPPXQLW\RUGRFWULQH/*IXUWKHUREMHFWVWRWKLV5HTXHVWWRWKHH[WHQWWKDWLW
         SXUSRUWV WR UHTXLUH /* WR VHDUFK ILOHV SURYLGH LQIRUPDWLRQ RU UHYLHZ
        GRFXPHQWVLQWKHSRVVHVVLRQFXVWRG\RUFRQWURORIWKLUGSDUWLHVRURWKHUZLVH
       UHTXLUHV /* WR SURGXFH LQIRUPDWLRQ RU PDWHULDOV IURP ILOHV RWKHU WKDQ LWV
         RZQ/*IXUWKHUREMHFWVWRWKLV5HTXHVWWRWKHH[WHQWWKDWLWVHHNVGLVFORVXUH
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         RI FRQILGHQWLDO SURSULHWDU\ WUDGH VHFUHW FRPPHUFLDOO\SURWHFWHG RU RWKHU
       LQIRUPDWLRQ IRU ZKLFK GLVFORVXUH ZRXOG EH GHWULPHQWDO WR WKH FRQGXFW RI
       /* VEXVLQHVVZLWKRXWDQ\DSSURSULDWHVKRZLQJRIFRPSHOOLQJQHHG
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         6XEMHFWWRDQGFRQVLVWHQWZLWKWKHIRUHJRLQJJHQHUDODQGVSHFLILFREMHFWLRQV
       /*ZLOOSURGXFHUHDVRQDEO\DFFHVVLEOHQRQSULYLOHJHGGRFXPHQWVLIDQ\LQ
       LWV SRVVHVVLRQ FXVWRG\ RU FRQWURO UHVSRQVLYH WR WKLV 5HTXHVW DV OLPLWHG
         WKURXJK PXWXDO DJUHHPHQW UHVXOWLQJ IURP WKH SDUWLHV  PHHW DQG FRQIHU
       GLVFXVVLRQV
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       5)312'RFXPHQWVVXIILFLHQWWRVKRZWKHPRGHOVRI/*5HIULJHUDWRUV
         NQRZQ WR <RX WR KDYH H[SHULHQFHG &RPSUHVVRU )DLOXUH WKH &ODVV
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       5(63216(  ,QDGGLWLRQWRWKHIRUHJRLQJ*HQHUDO2EMHFWLRQV/*REMHFWV
         WRWKLV5HTXHVWRQWKHJURXQGWKDWLWLVYDJXHDQGDPELJXRXVRYHUEURDGDVWR
       WLPH DQG VFRSH XQGXO\ EXUGHQVRPH DQG VHHNV LQIRUPDWLRQ WKDW LV QHLWKHU
       UHOHYDQW QRU SURSRUWLRQDO WR WKH QHHGV RI WKLV FDVH /* REMHFWV WR WKLV
         5HTXHVW RQ WKH JURXQGV WKDW WKH GHILQLWLRQV RI &RPSUHVVRU )DLOXUH /*

         5HIULJHUDWRUVDQG&ODVV5HIULJHUDWRUVDUHYDJXHDPELJXRXVDQGRYHUO\
       EURDG7RWKHH[WHQW&RPSUHVVRU)DLOXUHLVGHILQHGE\WKHDOOHJDWLRQVVHW
       IRUWKLQWKH&RPSODLQW/*REMHFWVRQWKHJURXQGVWKDWVXFKDOOHJDWLRQVDUH
         LQVXIILFLHQWWRHVWDEOLVKDGHIHFW7KHDSSURSULDWHVFRSHRIGLVFRYHU\LQWKLV
       FDVH GHSHQGV XSRQ WKH H[LVWHQFH RI D GHIHFW LQ /* V UHIULJHUDWRUV DQG VXFK
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        GHIHFWPXVWEHDGHTXDWHO\DOOHJHGDQGGHILQHG/*REMHFWVWRWKHWHUP/*
         5HIULJHUDWRUVDVYDJXHDPELJXRXVDQGRYHUO\EURDGZKHUH3ODLQWLIIVPDNH
        QRHIIRUWWREHUHDVRQDEOHZLWKUHVSHFWWRWKHPRGHOVRIWKH/*5HIULJHUDWRUV
        3ODLQWLIIV DUH UHIHUHQFLQJ /* DOVR REMHFWV WR WKH WHUP H[SHULHQFHG DV
         YDJXHDPELJXRXVDQGXQGHILQHG/*IXUWKHUREMHFWVWRWKLV5HTXHVWWRWKH
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         H[WHQW LW VHHNV LQIRUPDWLRQ SURWHFWHG E\ WKH DWWRUQH\FOLHQW SULYLOHJH ZRUN
        SURGXFW GRFWULQH RU DQ\ RWKHU DSSOLFDEOH SULYLOHJH LPPXQLW\ RU GRFWULQH
        /* IXUWKHU REMHFWV WR WKLV 5HTXHVW WR WKH H[WHQW WKDW LW VHHNV GLVFORVXUH RI
         FRQILGHQWLDO SURSULHWDU\ WUDGH VHFUHW FRPPHUFLDOO\SURWHFWHG RU RWKHU
        LQIRUPDWLRQ IRU ZKLFK GLVFORVXUH ZRXOG EH GHWULPHQWDO WR WKH FRQGXFW RI
        /* VEXVLQHVVZLWKRXWDQ\DSSURSULDWHVKRZLQJRIFRPSHOOLQJQHHG
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       LWV SRVVHVVLRQ FXVWRG\ RU FRQWURO UHVSRQVLYH WR WKLV 5HTXHVW DV OLPLWHG
         WKURXJK   PXWXDO DJUHHPHQW UHVXOWLQJ IURP WKH SDUWLHV  PHHW DQG FRQIHU
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         WLPH DQG VFRSH DQG XQGXO\ EXUGHQVRPH DQG VHHNV LQIRUPDWLRQ WKDW LV
       QHLWKHUUHOHYDQWQRUSURSRUWLRQDOWRWKHQHHGVRIWKLVFDVH/*REMHFWWRWKH
       WHUPDXWKRUL]HGUHVHOOHUVDVYDJXHDPELJXRXVDQGXQGHILQHG/*REMHFWV
       WRWKHWHUP&ODVV5HIULJHUDWRUVDVXQGHILQHGDQGWRWKHH[WHQWLWLVEDVHGRQ
         WKHGHILQLWLRQRI/*5HIULJHUDWRUVZKLFKLVYDJXHDPELJXRXVDQGRYHUO\
       EURDGEHFDXVH3ODLQWLIIVPDNHQRHIIRUWWREHUHDVRQDEOHZLWKUHVSHFWWRWKH
       PRGHOVRIWKH/*5HIULJHUDWRUV3ODLQWLIIVDUHUHIHUHQFLQJ/*IXUWKHUREMHFWV
         WR WKLV 5HTXHVW WR WKH H[WHQW WKDW LW SXUSRUWV WR UHTXLUH /* WR VHDUFK ILOHV
       SURYLGH LQIRUPDWLRQ RU UHYLHZ GRFXPHQWV LQ WKH SRVVHVVLRQ FXVWRG\ RU
       FRQWURORIWKLUGSDUWLHVRURWKHUZLVHUHTXLUHV/*WRSURGXFHLQIRUPDWLRQRU
         PDWHULDOVIURPILOHVRWKHUWKDQLWVRZQ/*IXUWKHUREMHFWVWRWKLV5HTXHVWWR
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         WKH H[WHQW LW VHHNV LQIRUPDWLRQ SURWHFWHG E\ WKH DWWRUQH\FOLHQW SULYLOHJH
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        /* IXUWKHU REMHFWV WR WKLV 5HTXHVW WR WKH H[WHQW WKDW LW VHHNV GLVFORVXUH RI
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        SURGXFH UHDVRQDEO\ DFFHVVLEOH QRQSULYLOHJHG GRFXPHQWV LI DQ\ LQ LWV
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       SURSRUWLRQDO WR WKH QHHGV RI WKLV FDVH /* REMHFW WR WKH WHUPV UHSDLU
       WHFKQLFLDQV FRQVXPHUV FRPSODLQHG DQG DXWKRUL]HG UHVHOOHUV DV
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       5HIULJHUDWRUVDVXQGHILQHGDQGWRWKHH[WHQWLWLVEDVHGRQWKHGHILQLWLRQRI
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       5HTXHVWWRWKHH[WHQWWKDWLWSXUSRUWVWRUHTXLUH/*WRVHDUFKILOHVSURYLGH
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         WKLUG SDUWLHV RU RWKHUZLVH UHTXLUHV /* WR SURGXFH LQIRUPDWLRQ RU PDWHULDOV
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       LWVHHNVLQIRUPDWLRQSURWHFWHGE\WKHDWWRUQH\FOLHQWSULYLOHJHZRUNSURGXFW
         GRFWULQHRUDQ\RWKHUDSSOLFDEOHSULYLOHJHLPPXQLW\RUGRFWULQH/*IXUWKHU
       REMHFWVWRWKLV5HTXHVWWRWKHH[WHQWWKDWLWVHHNVGLVFORVXUHRIFRQILGHQWLDO
       SURSULHWDU\ WUDGH VHFUHW FRPPHUFLDOO\SURWHFWHG RU RWKHU LQIRUPDWLRQ IRU
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         DQG XQGXO\ EXUGHQVRPH DQG VHHNV LQIRUPDWLRQ WKDW LV QHLWKHU UHOHYDQW QRU
          SURSRUWLRQDO WR WKH QHHGV RI WKLV FDVH /* REMHFWV WR WKH WHUP &ODVV
         5HIULJHUDWRUVDVXQGHILQHGDQGWRWKHH[WHQWLWLVEDVHGRQWKHGHILQLWLRQRI
         /* 5HIULJHUDWRUV ZKLFK LV YDJXH DPELJXRXV DQG RYHUO\ EURDG EHFDXVH
          3ODLQWLIIVPDNHQRHIIRUWWREHUHDVRQDEOHZLWKUHVSHFWWRWKHPRGHOVRIWKH
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        LQIRUPDWLRQ RU UHYLHZ GRFXPHQWV LQ WKH SRVVHVVLRQ FXVWRG\ RU FRQWURO RI
          WKLUG SDUWLHV RU RWKHUZLVH UHTXLUHV /* WR SURGXFH LQIRUPDWLRQRU PDWHULDOV
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          GRFWULQHRUDQ\RWKHUDSSOLFDEOHSULYLOHJHLPPXQLW\RUGRFWULQH/*IXUWKHU
        REMHFWVWRWKLV5HTXHVWWRWKHH[WHQWWKDWLWVHHNVGLVFORVXUHRIFRQILGHQWLDO
        SURSULHWDU\ WUDGH VHFUHW FRPPHUFLDOO\SURWHFWHG RU RWKHU LQIRUPDWLRQ IRU
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          ZLWKRXWDQ\DSSURSULDWHVKRZLQJRIFRPSHOOLQJQHHG
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        2EMHFWLRQV /* ZLOO SURGXFH UHDVRQDEO\ DFFHVVLEOH QRQSULYLOHJHG
          GRFXPHQWV LI DQ\ LQ LWV SRVVHVVLRQ FXVWRG\ RU FRQWURO UHVSRQVLYH WR WKLV
        5HTXHVW DV OLPLWHG WKURXJK PXWXDO DJUHHPHQW UHVXOWLQJ IURP WKH SDUWLHV 
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        DQG XQGXO\ EXUGHQVRPH DQG VHHNV LQIRUPDWLRQ WKDW LV QHLWKHU UHOHYDQW QRU
        SURSRUWLRQDO WR WKH QHHGV RI WKLV FDVH /* REMHFWV WR WKH SKUDVH WHFKQLFDO
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        IXUWKHU REMHFWV WR WKH WHUP /* 5HIULJHUDWRUV DV YDJXH DPELJXRXV DQG
        RYHUO\EURDGZKHUH3ODLQWLIIVPDNHQRHIIRUWWREHUHDVRQDEOHZLWKUHVSHFWWR
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         PDWHULDOVIURPILOHVRWKHUWKDQLWVRZQ/*IXUWKHUREMHFWVWRWKLV5HTXHVWWR
        WKH H[WHQW LW VHHNV LQIRUPDWLRQ SURWHFWHG E\ WKH DWWRUQH\FOLHQW SULYLOHJH
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       DQG XQGXO\ EXUGHQVRPH DQG VHHNV LQIRUPDWLRQ WKDW LV QHLWKHU UHOHYDQW QRU
       SURSRUWLRQDOWRWKHQHHGVRIWKLVFDVH/*REMHFWVWRWKHSKUDVHWHVWLQJRQ
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       UHIHUHQFLQJ/*IXUWKHUREMHFWVWRWKLV5HTXHVWWRWKHH[WHQWWKDWLWSXUSRUWV
       WR UHTXLUH /* WR VHDUFK ILOHV SURYLGH LQIRUPDWLRQ RU UHYLHZ GRFXPHQWV LQ
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         WRSURGXFHLQIRUPDWLRQRUPDWHULDOVIURPILOHVRWKHUWKDQLWVRZQ/*IXUWKHU
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        H[WHQW WKDW LW VHHNV GLVFORVXUH RI FRQILGHQWLDO SURSULHWDU\ WUDGH VHFUHW
        FRPPHUFLDOO\SURWHFWHGRURWKHULQIRUPDWLRQIRUZKLFKGLVFORVXUHZRXOGEH
         GHWULPHQWDOWRWKHFRQGXFWRI/* VEXVLQHVVZLWKRXWDQ\DSSURSULDWHVKRZLQJ
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         WLPH DQG VFRSH XQGXO\ EXUGHQVRPH DQG VHHNV LQIRUPDWLRQ WKDW LV QHLWKHU
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       /* IXUWKHU REMHFWV WR WKLV 5HTXHVW WR WKH H[WHQW LW VHHNV LQIRUPDWLRQ
         SURWHFWHG E\ WKH DWWRUQH\FOLHQW SULYLOHJH ZRUN SURGXFW GRFWULQH RU DQ\
       RWKHUDSSOLFDEOHSULYLOHJHLPPXQLW\RUGRFWULQH/*IXUWKHUREMHFWVWRWKLV
       5HTXHVW WR WKH H[WHQW WKDW LW VHHNV GLVFORVXUH RI FRQILGHQWLDO SURSULHWDU\
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         WRWKLV5HTXHVWRQWKHJURXQGWKDWLWLVYDJXHDQGDPELJXRXVRYHUEURDGDVWR
        WLPH DQG VFRSH XQGXO\ EXUGHQVRPH DQG VHHNV LQIRUPDWLRQ WKDW LV QHLWKHU
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         5HTXHVWRQWKHJURXQGVWKDWWKHGHILQLWLRQRI&RPSUHVVRU)DLOXUHLVYDJXH
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        WLPH DQG VFRSH XQGXO\ EXUGHQVRPH DQG VHHNV LQIRUPDWLRQ WKDW LV QHLWKHU
        UHOHYDQW QRU SURSRUWLRQDO WR WKH QHHGV RI WKLV FDVH /* REMHFWV WR WKLV
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        VXFKDOOHJDWLRQVDUHLQVXIILFLHQWWRHVWDEOLVKDGHIHFW7KHDSSURSULDWHVFRSH
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         EDVHG RQ WKH GHILQLWLRQ RI /* 5HIULJHUDWRUV ZKLFK LV YDJXH DPELJXRXV
        DQG RYHUO\ EURDG EHFDXVH 3ODLQWLIIV PDNH QR HIIRUW WR EH UHDVRQDEOH ZLWK
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       WLPH DQG VFRSH XQGXO\ EXUGHQVRPH DQG VHHNV LQIRUPDWLRQ WKDW LV QHLWKHU
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             WR WKLV 5HTXHVW WR WKH H[WHQW WKDW LW SXUSRUWV WR UHTXLUH /* WR VHDUFK ILOHV
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            LWV SRVVHVVLRQ FXVWRG\ RU FRQWURO UHVSRQVLYH WR WKLV 5HTXHVW DV OLPLWHG
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          ERLOHUSODWHSULYLOHJHDVVHUWLRQVDUHLQHIIHFWLYHDQGDIDLOXUHWRSURSHUO\DVVHUWD
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        5HIULJHUDWRUV´DQG³&ODVV5HIULJHUDWRUV´DUH³YDJXHDPELJXRXVDQGRYHUO\EURDG
        EHFDXVH3ODLQWLIIVPDNHQRHIIRUWWREHUHDVRQDEOHZLWKUHVSHFWWRWKHPRGHOVRIWKH/*
       5HIULJHUDWRUV3ODLQWLIIVDUHUHIHUHQFLQJ´E.g./*¶V5HVSRQVHWR5)31R%XWLQIDFW
       3ODLQWLIIVOLVWHGWKHVSHFLILFPRGHOQXPEHUVWKDWFRPSULVH³/*5HIULJHUDWRUV´LQ([KLELW
       $WRWKHLU&RPSODLQWZKLFKWKH'HILQLWLRQVVHFWLRQRIWKHLUGRFXPHQWUHTXHVWV
       LQFRUSRUDWHV/*GRHVQRWH[SODLQZK\3ODLQWLIIV¶OLVWRIPRGHOQXPEHUVLVYDJXH
       DPELJXRXVRULQVXIILFLHQWO\VSHFLILFWRDOORZ/*WRDVFHUWDLQWKHSURGXFWVFRYHUHGE\
       WKHUHTXHVWV
              'XULQJWKHSDUWLHV¶WHOHSKRQHFRQIHUHQFHWRIDFLOLWDWH/*¶VDELOLW\WRFRPSOHWHLWV
       GRFXPHQWVHDUFK3ODLQWLIIVDOVRSURYLGHGDGGLWLRQDOGHWDLOVDERXWWKHGHIHFW,Q
       DGGLWLRQ3ODLQWLIIVVXJJHVWHGWKDW/*¶VLQWHUQDOFRGHVIRUFDWHJRUL]LQJZDUUDQW\FODLPV
       ZRXOGDVVLVWLQLGHQWLI\LQJGRFXPHQWVUHODWLQJWRWKHGHIHFW/*LQGLFDWHGWKDWWKHVH
       VXJJHVWLRQVZRXOGEHKHOSIXODQGDJUHHGWRSURYLGHDOHWWHUZLWKDSURSRVDOIRU
       SURGXFWLRQ/*QHYHUSURYLGHGVXFKDOHWWHU 7ZRZHHNVKDYHQRZSDVVHGVLQFHWKH
       SDUWLHV¶VHFRQGPHGLDWLRQZLWK-XGJH*DQGKL/*VWLOOKDVQRWSURGXFHGDQ\GRFXPHQWV
       DIWHULWVLQLWLDOOLPLWHGSURGXFWLRQDQGKDVQRWSURSRVHGDQH[SHFWHGFRPSOHWLRQGDWHIRU
       LWVSURGXFWLRQ
              7KH5HTXHVWVDWLVVXH UHSURGXFHGDERYH FDOOIRUSURGXFWLRQRIIRXUFDWHJRULHVRI
       GRFXPHQWV L IDLOXUHDQDO\VLVWHVWLQJDQGWHFKQLFDOVSHFLILFDWLRQVFRQFHUQLQJWKH
       FRPSUHVVRUIDLOXUHVLQWKH/*5HIULJHUDWRUV 5HTXHVW1RV  LL VDOHVDQGSULFLQJ
       GDWDIRUWKH/*5HIULJHUDWRUV 5HTXHVW1RV  LLL FRQVXPHUFRPSODLQWV/*¶V

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        ZDUUDQW\SROLFLHVDQGUHSDLUGDWD 5HTXHVW1RV DQG LY PDUNHWLQJPDWHULDOV
        5HTXHVW1R 3ODLQWLIIV¶5HTXHVWVDUHQDUURZO\WDLORUHGDQGIUDPHGWRVHHN
        LQIRUPDWLRQFULWLFDOWRGHYHORSLQJWKHLUFODLPVDQGHQVXULQJWKHLUDELOLW\WRH[SHGLWLRXVO\
        PRYHIRUFODVVFHUWLILFDWLRQ
              )DLOXUH$QDO\VLV7HVWLQJDQG7HFKQLFDO6SHFLILFDWLRQV/*¶VIDLOXUHDQDO\VLV
        DQGWHVWLQJFRQFHUQLQJWKHFRPSUHVVRUGHIHFWDVZHOODVWKHWHFKQLFDOVSHFLILFDWLRQVIRU
        FRPSRQHQWVRIWKH/*5HIULJHUDWRUVEHDUXSRQWKHLVVXHVRIOLDELOLW\FDXVDWLRQ
        NQRZOHGJHDQGGDPDJHV7KH'LVWULFW&RXUWXSKHOG3ODLQWLIIV¶DOOHJDWLRQVWKDW/*
        NQRZLQJO\VROGDGHIHFWLYHSURGXFW'RF3ODLQWLIIVDFFRUGLQJO\VHHNGRFXPHQWV
       UHIOHFWLQJ/*¶VSUHDQGSRVWUHOHDVHWHVWLQJDVZHOODVLWVDQDO\VLVRIUHSRUWHGIDLOXUHV
       'LVFRYHU\RIWKHVHFDWHJRULHVRIGRFXPHQWVZLOOLQIRUPWKHTXHVWLRQRIZKHWKHU/*LV
       OLDEOHXQGHU3ODLQWLIIV¶ZDUUDQW\DQGFRQVXPHUIUDXGFDXVHVRIDFWLRQ,QDGGLWLRQ
       IDLOXUHDQDO\VLVDQGWHFKQLFDOGRFXPHQWVDUHHVVHQWLDOWR3ODLQWLIIV¶H[SHUW¶VWHVWLQJDQG
       DQDO\VLVRIWKH/*5HIULJHUDWRUVSDUWLFXODUO\ZLWKUHVSHFWWRWKHGHYHORSPHQWRI
       RSLQLRQVRQWKHURRWFDXVHRIWKHGHIHFWDQGKRZLWPDQLIHVWVLQWKHFODVVSURGXFWV
             6DOHVDQG3ULFLQJ'DWD/*5HIULJHUDWRUVDOHVDQGSULFLQJGDWDLVQHFHVVDU\IRU
       3ODLQWLIIV¶GDPDJHVDQDO\VLV7KHSULFHFRQVXPHUVSDLGIRUDGHIHFWLYHSURGXFWLVDFRUH
       YDULDEOHLQWKHGHWHUPLQDWLRQRIHFRQRPLFORVVSee, e.g.In re Arris Cable Modem
       Consumer Litig.)5' 1'&DO  XSKROGLQJFODVVZLGHGDPDJHV
       PRGHOWKDWZRXOG³FDOFXODWHµWKHGLIIHUHQFHEHWZHHQWKHSULFHVFXVWRPHUVSDLGDQGWKH
       YDOXHRIWKH>SURGXFW@WKH\ERXJKW²LQRWKHUZRUGVWKHSULFHSUHPLXPDWWULEXWDEOHWR¶
       WKHDOOHJHGPLVVWDWHPHQWVDQGRPLVVLRQV´  DOWHUDWLRQVDQGLQWHUQDOTXRWDWLRQVLQ
       RULJLQDO see also In re MyFord Touch Consumer Litig.)6XSSG 1'
       &DO  UHMHFWLQJDaubert FKDOOHQJHWRH[SHUW¶VSULFHSUHPLXPWKHRU\LQFRQVXPHU
       IUDXGFDVH /*KDVIDLOHGWRDUWLFXODWHZK\GRFXPHQWVVXIILFLHQWWRVKRZ D ZKLFK
       PRGHOVKDYHH[SHULHQFHGFRPSUHVVRUIDLOXUH 5)31R  E KRZPDQ\XQLWVRIHDFK
       PRGHOZHUHVROGSHU\HDUE\/*RULWVDXWKRUL]HGUHVHOOHUV 5)31R DQG F WKH
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        DYHUDJHSXUFKDVHSULFHSHU\HDURIHDFKPRGHO 5)31R DUHSURWHFWHGIURP
        GLVFORVXUHE\DQ\SULYLOHJHRURWKHUFRQVLGHUDWLRQ
              &RQVXPHU&RPSODLQWV5HSDLU'DWDDQG/*¶V:DUUDQW\3ROLFLHV
        'RFXPHQWVVKRZLQJWKHYROXPHRIFRQVXPHUFRPSODLQWV/*KDVUHFHLYHGDQG/*¶V
        SROLFLHVDQGSUDFWLFHVIRUUHVSRQGLQJWRWKHPJRWRWKHFRPPRQDOLW\DQGSUHGRPLQDQFH
        HOHPHQWVRI5XOH/*¶VFRPSODLQWZDUUDQW\DQGUHSDLUGDWDZLOOGHPRQVWUDWHWKH
        QDWXUHDQGH[WHQWRIWKHGHIHFWDQGKRZLWKDVPDQLIHVWHGDFURVVWKHSURSRVHGFODVV
        7KHVHGDWDDOVRUHODWHWR/*¶VNQRZOHGJHRIWKHGHIHFWDQGWKHDGHTXDF\RILWVUHPHGLDO
        SURFHGXUHV7KLVLV³SUHFLVHO\WKHNLQGRILQIRUPDWLRQZKLFKZLOODLGWKH'LVWULFW&RXUW¶V
       DQDO\VLVRIQXPHURVLW\FRPPRQDOLW\W\SLFDOLW\DQGDGHTXDF\XQGHU)HG5&LY3
       DQGLWVGHWHUPLQDWLRQZKHWKHUFODVVFHUWLILFDWLRQLVDSSURSULDWH´Long v. Hewlett-
       Packard, Co1R&-:+5/:/DW  1'&DO'HF
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       UHSDLUGRFXPHQWVIRUWKHVSHFLILFODSWRSPRGHOVRZQHGE\QDPHGSODLQWLIIVDQGRUGHULQJ
       SURGXFWLRQRIUHVSRQVLYHGRFXPHQWVSHUWDLQLQJWRDOO+33DYLOLRQODSWRSVPDQXIDFWXUHG
       RUVROGLQDWKUHH\HDUSHULRG 
             0DUNHWLQJ0DWHULDOV3ODLQWLIIV¶IUDXGE\RPLVVLRQDQGFRQVXPHUSURWHFWLRQ
       FODLPVFHQWHURQ/*¶VIDLOXUHWRGLVFORVHWKH/*5HIULJHUDWRUV¶GHIHFWLYHQDWXUHGHVSLWH
       RSSRUWXQLWLHVWRGRVR/*¶VPDUNHWLQJPDWHULDOVDUHWKHUHIRUHGLUHFWO\UHOHYDQWWRDQ
       HOHPHQWRI3ODLQWLIIV¶FODLPVSee, e.g.Sloan v. Gen. Motors LLC)6XSSG
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       WKHUHIRUHZKDWFKDQQHOVRILQIRUPDWLRQFXVWRPHUVGHSHQGXSRQDQGZKHWKHUWKH
       GHIHQGDQWFRXOGKDYHWDNHQDFWLRQWRGLVVHPLQDWHLQIRUPDWLRQWKURXJKWKRVHFKDQQHOV´ 
       /*¶VFRQVXPHUUHVHDUFKDQGPDUNHWLQJGHFLVLRQVDOVR³PD\EHUHOHYDQWWR>LWV@LQWHQW
       PRWLYHDQGNQRZOHGJH´DQGDUHWKHUHIRUHGLVFRYHUDEOHMartin v. Monsanto Co1R
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       )XUWKHUPRUH³DSODLQWLIIPD\VHHNGLVFRYHU\LQWRKRZDGHIHQGDQWSHUFHLYHGLWVRZQ

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        UHSUHVHQWDWLRQVLQFOXGLQJKRZLWLQWHQGHGFRQVXPHUVWRSHUFHLYHWKHPEHFDXVHLWUHODWHV
        WRLPSDFWRQFRQVXPHUFKRLFHDQGSXUFKDVLQJ´Id FLWDWLRQRPLWWHG 
              3ODLQWLIIV¶GHDGOLQHWRPRYHIRUFODVVFHUWLILFDWLRQLV-DQXDU\DQGWKH
        'LVWULFW&RXUWKDVPDGHFOHDUWKDWWKLVGHDGOLQH³ZLOOQRWEHFRQWLQXHGH[FHSWXSRQD
        VKRZLQJRIJRRGFDXVHZKLFKJHQHUDOO\UHTXLUHVXQIRUHVHHDEOHFLUFXPVWDQFHV´'RF
        )XUWKHUGHOD\LQ/*¶VSURGXFWLRQZLOOLQWHUIHUHZLWK3ODLQWLIIV¶DELOLW\WRDELGHE\
        WKHH[LVWLQJFDVHVFKHGXOH7KH&RXUWUHMHFWHG/*¶VDUJXPHQW²UHSHDWHGEHORZ²WKDW
        3ODLQWLIIVSURYLGHLQVXIILFLHQWGHWDLOUHJDUGLQJWKHUHIULJHUDWRUGHIHFWCompare'RF
        DW DUJXLQJWKDW³3ODLQWLIIVIDLOWRFOHDUO\DQGDGHTXDWHO\DOOHJHDGHIHFW´ with'RF
       DW KROGLQJWKDW³3ODLQWLIIVDGHTXDWHO\DOOHJHDGHIHFW´ see also&RPSO௅
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       FRPSO\ZLWKLWVGLVFRYHU\REOLJDWLRQVXQGHUWKH)HGHUDO5XOHV
             1HLWKHU/*¶VERLOHUSODWHFRQILGHQWLDOLW\REMHFWLRQVQRUFRRUGLQDWLRQZLWKDQRQ
       &DOLIRUQLDFDVHDULVLQJIURPVLPLODUSURGXFWIDLOXUHVH[FXVHV/*¶VGHOLQTXHQW
       SURGXFWLRQ)LUVW/*LVQRWSHUPLWWHGWRXQLODWHUDOO\ZLWKKROGUHVSRQVLYHPDWHULDOEDVHG
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       .DQ  ³>$@VVHUWLQJDQREMHFWLRQWRDGLVFRYHU\UHTXHVWWKDWWKHGRFXPHQWVVRXJKW
       FRQWDLQWUDGHVHFUHWVRUSURSULHWDU\LQIRUPDWLRQGRHVQRWVKLHOGWKHGRFXPHQWVIURP
       GLVFRYHU\´ $VQRWHGDERYH3ODLQWLIIVVHQW/*DGUDIWSURWHFWLYHRUGHURQ0D\EXW
       /*KDVGHOD\HGGLVFXVVLQJWKDWGUDIWZLWK3ODLQWLIIVDQGVKRXOGQRWEHKHDUGWRLQYRNH
       FRQILGHQWLDOLW\JLYHQLWVIDLOXUHWRHQJDJHSURPSWO\See *ULOOH'HFO (['
       ,QGHHGLI/*³WUXO\EHOLHYHVLWKDVFRQILGHQWLDOLQIRUPDWLRQWKDWVKRXOGEHSURWHFWHGE\
       DSURWHFWLYHRUGHULWVKRXOGKDYHHQWHUHGLQWRDVWLSXODWHGSURWHFWLYHRUGHURUILOHGD
       PRWLRQIRUDSURWHFWLYHRUGHUEHIRUHWKHGDWHE\ZKLFKLWZDVWRSURGXFHUHVSRQVLYH
       GRFXPHQWV´Nat’l Acad. of Recording Arts & Scis., Inc. v. On Point Events, LP
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        GLVFRYHU\REOLJDWLRQVLQWKLVIRUXP5HFRJQL]HG³>F@RRUGLQDWLRQPHWKRGV´ZKHQ
        SDUDOOHODFWLRQVDUHSHQGLQJ³LQFOXGHDUUDQJHPHQWVPDGHE\FRXQVHO´Manual for
        Complex Litigation (Fourth)+HUH3ODLQWLIIV¶FRXQVHOVKDUHFRQWURORIWKH
        SURVHFXWLRQRIWKHWUDLOLQJQRQ&DOLIRUQLDOLWLJDWLRQDQGZLOOHQVXUHWKDWWKHUHLVQR
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        (Fourth) ³)LOLQJRUFURVVILOLQJGHSRVLWLRQQRWLFHVLQWHUURJDWRULHVDQGUHTXHVWV
        IRUSURGXFWLRQLQUHODWHGFDVHVZLOOPDNHWKHSURGXFWRIGLVFRYHU\XVDEOHLQDOOFDVHV
        5HOHYDQWGLVFRYHU\DOUHDG\FRPSOHWHGVKRXOGRUGLQDULO\EHPDGHDYDLODEOHWROLWLJDQWV
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       GHSRVLWRULHVHVWDEOLVKHG´  IRRWQRWHVRPLWWHG 3ODLQWLIIV¶FRXQVHOLQWKLVFDVHKDYH
       EHHQLQFRPPXQLFDWLRQZLWKDOOFRXQVHOLQWKH1HZ-HUVH\OLWLJDWLRQDQGJLYHQWKH
       SHQGHQF\RIWKLV&DOLIRUQLDFDVH3ODLQWLIIVGRQRWLQWHQGWRSURSRVHFHUWLILFDWLRQRID
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       WKLVFDVHGHPDQGLQIRUPDWLRQSHUWDLQLQJWRQRQ&DOLIRUQLDSXUFKDVHV DOWKRXJK
       3ODLQWLIIVZLOODFFHSWVXFKDEURDGHUSURGXFWLRQLIWKDWLVHDVLHUIRU/* *ULOOH'HFO
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       FRRUGLQDWHGWRDYRLGGXSOLFDWLRQDQGPLQLPL]HH[SHQVH
             %DVHGRQWKHIRUHJRLQJ3ODLQWLIIVUHVSHFWIXOO\UHTXHVWWKDWWKH&RXUWRUGHU/*WR
       SURGXFHDOOGRFXPHQWVUHVSRQVLYHWRWKH(DUO\5XOH5HTXHVWVDQGWRVSHFLI\D
       UHDVRQDEOHHQGGDWHIRUWKHSURGXFWLRQ e.g.2FWREHUDWWKHODWHVW 
                              'HIHQGDQW¶V3RVLWLRQ
            /*DSSUHFLDWHV3ODLQWLIIV¶GHDGOLQHWRPRYHIRUFODVVFHUWLILFDWLRQLQWKLVFDVHDQG
   VHHNVWRZRUNLQJRRGIDLWKWRFRQWLQXHWRVHDUFKIRUDQGSURGXFHGRFXPHQWVUHVSRQVLYH
   WRWKH5HTXHVWVDWLVVXH1HYHUWKHOHVV3ODLQWLIIV¶SRVLWLRQSXWVWKHFDUWEHIRUHWKHKRUVH
   DQGGRHVQRWWDNHLQWRDFFRXQWWKHFRQWH[W/*SURYLGHVDERYH&RXQVHOKDYHDJRRG
   ZRUNLQJUHODWLRQVKLSDQGKDYHPHWDQGFRQIHUUHGDERXWWKHVH5HTXHVWV$V3ODLQWLIIV
   SRLQWRXW/*KDVRIIHUHGWRPDNHDSURSRVDOWR3ODLQWLIIEDVHGRQWKRVHGLVFXVVLRQVDQG

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                            &DVH1RFY-/6 $'6[ 
 Case 8:19-cv-00610-JLS-ADS Document 38 Filed 09/06/19 Page 24 of 33 Page ID #:407

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    WKHEDOOLVLQ/*¶VFRXUWWRGRVR DQG/*LQWHQGVWRGRVRRQRUEHIRUH6HSWHPEHU
     +RZHYHU/*FDQQRWJLYHDQ³HQGGDWH´IRUSURGXFWLRQXQWLOWKHSDUWLHVDJUHHRQ
    SUHFLVHO\ZKDW/*ZLOOSURGXFHLQUHVSRQVHWR3ODLQWLIIV¶5HTXHVWV$FFRUGLQJO\
    DGGLWLRQDOWLPHLVQHHGHGIRUWKH3DUWLHVWRPHHWDQGFRQIHUIROORZLQJ/*¶VSURSRVDOWR
    3ODLQWLIIV¶FRXQVHO
           ,QFRQVLGHULQJWKH3DUWLHV¶GLVFXVVLRQVWRGDWHLWLVLPSRUWDQWWRQRWHWKDW3ODLQWLIIV¶
    5HTXHVWVVXIIHUIURPQXPHURXVVKRUWFRPLQJV,QSDUWLFXODU3ODLQWLIIV¶5HTXHVWVPXVWEH
    QDUURZHGWRDFFXUDWHO\GHILQHWKH³GHIHFW´IRUSXUSRVHVRIGLVFRYHU\DVOLPLWHGWKURXJK
    PXWXDODJUHHPHQWE\WKHSDUWLHV3ODLQWLIIV¶UHTXHVWVOLNHZLVHPXVWEHOLPLWHGWRUHIOHFW
   WKHUHDOLW\WKDWWKLVDFWLRQKDVEHHQSOHGDVDSXWDWLYHCalifornia-only FODVV QRWD
   QDWLRQZLGHFODVV 
          /*UHFRJQL]HVWKDWWKH&RXUWGHQLHG/*¶VPRWLRQWRGLVPLVVLQSDUWRQWKHJURXQG
   WKDWWKH&RXUWIRXQG3ODLQWLIIV¶DOOHJDWLRQVUHJDUGLQJWKHSXUSRUWHG³GHIHFW´WREH
   VXIILFLHQWWRVWDWHDFODLPSee'NW1R7KH³&RPSUHVVRU)DLOXUH´RU³GHIHFW´DV
   GHILQHGLQWKH&RPSODLQWGRHVQRWUHVROYHLVVXHVUHJDUGLQJKRZ3ODLQWLIIVKDYHGHILQHG
   WKHGHIHFWLQWKHFRQWH[WRIGLVFRYHU\DGHILQLWLRQWKDWGRHVQRWDOORZIRUDUHDVRQDEO\
   WDUJHWHGVHDUFKIRUDQGSURGXFWLRQRIUHVSRQVLYHGRFXPHQWVLQGLVFRYHU\:LWKRXW
   FODULI\LQJDQGIXUWKHUGHILQLQJWKHVFRSHRI3ODLQWLIIV¶5HTXHVWVLWZLOOEHGLIILFXOWRU
   LPSRVVLEOHIRU/*WRVD\WKDWLWVHDUFKHGIRUDQGSURGXFHGWKHGRFXPHQWVUHTXHVWHGE\
   3ODLQWLIIVGXHWR DPRQJRWKHUWKLQJV WKHYDJXHQHVVDQGRYHUEUHDGWKRIWKH5HTXHVWV
   $VQRWHGDERYH3ODLQWLIIVVHHNIRXUFDWHJRULHVRIGRFXPHQWVIURP/* L IDLOXUH
   DQDO\VLVWHVWLQJDQGWHFKQLFDOVSHFLILFDWLRQVFRQFHUQLQJWKHDOOHJHGFRPSUHVVRUIDLOXUHV
   LQWKH/*5HIULJHUDWRUV 5HTXHVW1RV  LL VDOHVDQGSULFLQJGDWDIRUWKH/*
   5HIULJHUDWRUV 5HTXHVW1RV  LLL FRQVXPHUFRPSODLQWV/*¶VZDUUDQW\SROLFLHV
   DQGUHSDLUGDWD 5HTXHVW1RV DQG LY PDUNHWLQJPDWHULDOV 5HTXHVW1R 
          7KH5HTXHVWVVHHNLQJIDLOXUHDQDO\VLVDQGWHVWLQJGRFXPHQWDWLRQDQGGRFXPHQWV
   VKRZLQJFRQVXPHUFRPSODLQWVDQGZDUUDQW\FODLPVDVZHOODV/*¶VSROLFLHVDQG
   SUDFWLFHVIRUUHVSRQGLQJWRVXFKFODLPVDUHXQGXO\EXUGHQVRPHDVGUDIWHG$V/*PDGH

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    FOHDULQLWVREMHFWLRQVDQGUHVSRQVHVWKHDSSURSULDWHVFRSHRIGLVFRYHU\LQWKLVFDVH
    GHSHQGVXSRQWKHH[LVWHQFHRIDGHIHFWLQ/*¶VUHIULJHUDWRUVDQGVXFKGHIHFWPXVWEH
    DGHTXDWHO\GHILQHG,QPHHWDQGFRQIHUGLVFXVVLRQVZLWK3ODLQWLIIV¶FRXQVHO/*¶V
    FRXQVHOPDGHFOHDUWKDW3ODLQWLIIV¶IDLOXUHWREHPRUHVSHFLILFDERXWWKHPRGHOVDWLVVXHRU
    WKHQDWXUHRIWKHDOOHJHGGHIHFWKDVDSUDFWLFDOHIIHFWRQGLVFRYHU\OLPLWLQJ/*¶VDELOLW\
    WRUHVSRQGUHVWULFWLQJ/*¶VDELOLW\WRVHDUFKIRUUHVSRQVLYHGRFXPHQWVDQGUHQGHULQJ
    3ODLQWLIIV¶UHTXHVWVRYHUEURDG
              )RUH[DPSOH/*¶VLQWHUQDOUHVHDUFKVKRZVWKDWWKHFRPSUHVVRULVQRWDOZD\VWKH
    FDXVHRIDWHPSRUDU\ORVVLQDUHIULJHUDWRU¶VFRROLQJIXQFWLRQDOLW\,QIDFWWKHDFWLRQVRI
   FXVWRPHUVWKHPVHOYHVPD\EHDFDXVH)XUWKHUFXVWRPHUVGRQRWW\SLFDOO\FDOOLQIRU
   UHSDLUVEHFDXVHWKHLU³FRPSUHVVRU V ´IDLOHGSee, e.g.,&RPSO DOOHJLQJ0U
   6RVHQNRFRQWDFWHG6HDUVWR³UHTXHVWUHSDLUV´JHQHUDOO\ id 7HUU\FDOOHG/*WR
   UHSRUWWKDWKHUUHIULJHUDWRU³EHJDQWRPDOIXQFWLRQDQGFRXOGQRORQJHUGHSHQGDEO\FRRO
   KHUIRRG´EXWGRHVQRWSOHDGWKDWVKHLQIRUPHG/*WKDWWKHUHZDVDFRPSUHVVRUGHIHFW 
   id %XUUDJHFRQWDFWHGDUHSDLUSHUVRQDIWHUKLVUHIULJHUDWRUZRXOGQRWVWD\FRRO
   EXWGRHVQRWSOHDGWKDWKHLQIRUPHG/*RUWKHUHSDLUWHFKQLFLDQWKHUHZDVDFRPSUHVVRU
   GHIHFW $FFRUGLQJO\VHDUFKHVE\/*IRUFRPSODLQWVZDUUDQW\FODLPVDQGUHSDLUGDWD
   UHODWHGWRDQ\VXFK³&RPSUHVVRU)DLOXUH´DUHERXQGWRUHVXOWLQVLJQLILFDQWIDOVHSRVLWLYHV
   DQGSRWHQWLDOO\PD\IDLOWRFDSWXUHUHOHYDQWLQIRUPDWLRQ7KHVDPHLVWUXHZLWKUHVSHFW
   WRDQDO\VLVRI³&RPSUHVVRU)DLOXUH V ´DQGWHVWLQJRIWKH6HDOHG6\VWHP5HTXLULQJ/*
   WRVHDUFKIRUDQGSURGXFHGRFXPHQWVFRQFHUQLQJDOOWHVWLQJFRQGXFWHGRIWKH³6HDOHG
   6\VWHPV´LQUHIULJHUDWRUVLVQRWWHQDEOHLQOLJKWRIKRZWKHGHIHFWLVSUHVHQWO\GHILQHG

                                  
      )XUWKHUDVFRXQVHOIRU/*PDGHFOHDULQLWVPHHWDQGFRQIHUGLVFXVVLRQZLWK3ODLQWLIIV
   DQ\UHSDLUGRFXPHQWDWLRQ/*SRVVHVVHVZRXOGRQO\UHODWHWRUHSDLUVFRQGXFWHGE\LG
   service techniciansDQGQRWE\DQ\RWKHUWKLUGSDUW\VHUYLFHWHFKQLFLDQV3ODLQWLIIVPD\
     KDYHFRQWDFWHGSee, e.g.,&RPSO $6HDUV5HSDLU7HFKQLFLDQGLDJQRVHG6RVHQNR¶V
   UHIULJHUDWRULVVXHV id $UHSDLUSHUVRQQRWVSHFLILFDOO\UHIHUUHGWRDVDQ/*UHSDLU
   SHUVRQUHSODFHG%XUUDJH¶VUHIULJHUDWRU¶VFRPSUHVVRU 

                                            
             -2,1767,38/$7,215(*$5',1*3/$,17,))6¶027,2172&203(/
                            &DVH1RFY-/6 $'6[ 
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           0RUHRYHUWKHSXWDWLYHFODVVLQWKLVFDVHLVGHILQHGDV³>D@OOSHUVRQVZKR
    SXUFKDVHGRWKHUWKDQIRUUHVDOHwithin CaliforniaDQ/*5HIULJHUDWRUIURP/*RULWV
    DXWKRUL]HGUHWDLOHUVEHWZHHQ-DQXDU\DQGWKHSUHVHQW´&RPSO HPSKDVLV
    DGGHG 7KXVPXFKRIZKDW3ODLQWLIIVVHHNLQGLVFRYHU\²e.g.VDOHVDQGSULFLQJGDWD
    FRPSODLQWVDQGZDUUDQW\FODLPVWHFKQLFDOVSHFLILFDWLRQVUHSDLUGDWD²PXVWEHOLPLWHGWR
    UHIOHFWD&DOLIRUQLDRQO\VFRSHDQGWKHQDPHG3ODLQWLIIV¶UHIULJHUDWRUPRGHOV)RU
    H[DPSOHLWZRXOGQRWPDNHVHQVHIRU/*WRVHDUFKIRUDQGSURGXFHUHSDLUGDWDRUZRUN
    GRQHE\QRQ&DOLIRUQLDUHSDLUWHFKQLFLDQVRQUHIULJHUDWRUVSXUFKDVHGRXWVLGHRI
    &DOLIRUQLD7KHSDUWLHVVHHPWREHLQDJUHHPHQWKHUHEDVHGRQ3ODLQWLIIV¶UHSUHVHQWDWLRQ
   DERYHWKDWWKH\GRQRWGHPDQGLQIRUPDWLRQSHUWDLQLQJWRQRQ&DOLIRUQLDSXUFKDVHV
          7KH3DUWLHVDOVRVWLOOQHHGWRILQDOL]HDVWLSXODWHGSURWHFWLYHRUGHUDQGHOHFWURQLFDOO\
   VWRUHGLQIRUPDWLRQ ³(6,´ SURWRFROEHIRUHGLVFRYHU\FDQSURJUHVVWRZDUGFRPSOHWLRQ
   3ODLQWLIIVVHQWDGUDIWSURWHFWLYHRUGHUDQG(6,SURWRFROWRFRXQVHOIRU/*RQ0D\$V
   GHVFULEHGDERYHDWWKHWLPHWKHSDUWLHVZHUHHQJDJHGLQHDUO\VHWWOHPHQWGLVFXVVLRQVDQG
   DWWHQGHGPHGLDWLRQDW-$06RQ$XJXVWDQGDJDLQRQ$XJXVW&RXQVHOIRU/*ZDV
   IRFXVHGRQPHGLDWLRQDQGRQJLYLQJ3ODLQWLIIVWKHLQIRUPDWLRQWKH\UHTXHVWHGIRU
   PHGLDWLRQSXUSRVHV&RXQVHOIRU/*DOVRPDGHFOHDUWR3ODLQWLIIVVHYHUDOWLPHVWKDWLW
   ZRXOGEHRYHUO\EXUGHQVRPHWRUHTXLUH/*WRVXEVWDQWLDOO\UHVSRQGWRGLVFRYHU\ZKHUH
   WKHSDUWLHVZHUHPHDQLQJIXOO\HQJDJHGLQVHWWOHPHQWGLVFXVVLRQV0DGGLJDQ'HFO
   $WQRSRLQWKDV/*³UHIXVHG´WRQHJRWLDWHWKHWHUPVRIWKHVWLSXODWHGSURWHFWLYHRUGHUId
   ,QGHHG/*KDVEHHQUHDVRQDEOHWKURXJKRXWWKLVSURFHVV*LYHQWKDWWKH3DUWLHV¶
   PHGLDWLRQHIIRUWVGLGQRWUHVXOWLQHDUO\UHVROXWLRQDQGLQOLJKWRIWKHIDFWWKDWWKH&RXUW
   GHQLHG/*¶VPRWLRQWRGLVPLVV/*UHFRJQL]HVWKDWWKHGLVFRYHU\ZLOOSURFHHGDQGWR
   IXUWKHUWKDWHIIRUW/*KDVVHQWWR3ODLQWLIIV¶FRXQVHO RQ6HSWHPEHU DUHYLVHG
   VWLSXODWHGSURWHFWLYHRUGHUDQG(6,SURWRFROIRUUHYLHZId8QWLOWKRVHGRFXPHQWVDUH
   ILQDOL]HG/*FDQQRWEHJLQSURGXFLQJGRFXPHQWVUHVSRQVLYHWRWKHUHPDLQGHURI
   3ODLQWLIIV¶5HTXHVWV
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                    b.    Withholding of responsive materials on the basis of objections
                              3ODLQWLIIV¶3RVLWLRQ
             /*¶VREMHFWLRQVGRQRWLGHQWLI\ZKHWKHULWLVZLWKKROGLQJUHVSRQVLYHGRFXPHQWV
    DQGLIVRLQUHVSRQVHWRZKLFKREMHFWLRQDVLVUHTXLUHGXQGHU5XOH E  & See )HG
    5&LY3 E  & $PHQGPHQW/*¶VJHQHUDODQGERLOHUSODWHREMHFWLRQV
    VKRXOGEHZLWKGUDZQSee Burlington N. & Santa Fe Ry. Co. v. U.S. Dist. Court for Dist.
    of Mont.)G WK&LU  ³>%@RLOHUSODWHREMHFWLRQVRUEODQNHW
    UHIXVDOVLQVHUWHGLQWRDUHVSRQVHWRD5XOHUHTXHVWIRUSURGXFWLRQRIGRFXPHQWVDUH
    LQVXIILFLHQWWRDVVHUWDSULYLOHJH´ A. Farber & Partners, Inc. v. Garber)5'
    &'&DO  ³*HQHUDORUERLOHUSODWHREMHFWLRQVVXFKDVµRYHUO\EXUGHQVRPHDQG
   KDUDVVLQJ¶DUHLPSURSHU²HVSHFLDOO\ZKHQDSDUW\IDLOVWRVXEPLWDQ\HYLGHQWLDU\
   GHFODUDWLRQVVXSSRUWLQJVXFKREMHFWLRQV´ Schafer v. Curry1R&50: 35 
   :/DW  1'&DO-XQH  ³7KHFRXUWZDUQVGHIHQGDQWVWKDW
   WKH\FDQQRWDYRLGGLVFRYHU\WKURXJKWKHLQYRFDWLRQRIDJHQHUDOREMHFWLRQ´ Breaking
   the Boilerplate Habit in Civil Discovery$NURQ/5HY  
       ³%RLOHUSODWHREMHFWLRQVDUHLQVXIILFLHQWXQGHU5XOHVDQGH[SRVHWKHXVHUWR
   H[SHQVHVKLIWLQJXQGHU5XOH D  DQGSUHVXPSWLYHO\YLRODWH5XOH J 7KDWPXFK
   VHHPVXQLYHUVDOO\XQGHUVWRRG´ 
            7KH&RXUW¶V6WDQGLQJ2UGHURQ'LVFRYHU\'LVSXWHVPDQGDWHVWKDW³>S@DUWLHV
   UHVSRQGLQJWRGRFXPHQWUHTXHVWVVKDOOQRWXVHERLOHUSODWHREMHFWLRQVWKDWYLRODWH5XOH
    E  DVDPHQGHGLQ'HFHPEHU´/*¶VUHVSRQVHVFUHDWHWKHYHU\W\SHRI
   FRQIXVLRQWKH5XOHZDVGHVLJQHGWRSUHYHQWSee )HG5&LY3 E  & DGYLVRU\
   FRPPLWWHH¶VQRWHWRDPHQGPHQW ³5XOH E  & LVDPHQGHGWRSURYLGHWKDWDQ
   REMHFWLRQWRD5XOHUHTXHVWPXVWVWDWHZKHWKHUDQ\WKLQJLVEHLQJZLWKKHOGRQWKHEDVLV
   RIWKHREMHFWLRQ7KLVDPHQGPHQWVKRXOGHQGWKHFRQIXVLRQWKDWIUHTXHQWO\DULVHVZKHQD
   SURGXFLQJSDUW\VWDWHVVHYHUDOREMHFWLRQVDQGVWLOOSURGXFHVLQIRUPDWLRQOHDYLQJWKH
   UHTXHVWLQJSDUW\XQFHUWDLQZKHWKHUDQ\UHOHYDQWDQGUHVSRQVLYHLQIRUPDWLRQKDVEHHQ
   ZLWKKHOGRQWKHEDVLVRIWKHREMHFWLRQV´ 8QOHVV/*LVFRPSHOOHGWRVWDWHZKDW

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    PDWHULDOVLWLVZLWKKROGLQJDPRQJRWKHULQHIILFLHQFLHV3ODLQWLIIVZLOOEHIRUFHGWR
    SURFHHGZLWKGHSRVLWLRQVZLWKRXWLQIRUPDWLRQWKDWPD\KDYHEHHQLPSURSHUO\ZLWKKHOG
    ULVNLQJWKHUHRSHQLQJRIVXFKGHSRVLWLRQVWRDFFRXQWIRUVXFKPDWHULDOV7KXVWKH&RXUW
    VKRXOGRUGHU/*WRVXSSOHPHQWLWVUHVSRQVHVWRVWDWHE\6HSWHPEHUDWWKHODWHVW
    ZKHWKHULWLVZLWKKROGLQJGRFXPHQWVEDVHGRQLWVREMHFWLRQV
                             'HIHQGDQW¶V3RVLWLRQ
          $JDLQ3ODLQWLIIVVHHNWRSXWWKHFDUWEHIRUHWKHKRUVH/*¶VFRXQVHODOUHDG\
    UHSUHVHQWHGWR3ODLQWLIIVWKDW/*ZRXOGSURGXFHDSULYLOHJHORJWKDWUHIOHFWVGRFXPHQWV
    ZLWKKHOGIURPSURGXFWLRQRQWKHEDVLVRISULYLOHJHRUVRPHRWKHUVLPLODURUDQDORJRXV
   SURWHFWLRQIURPGLVFORVXUHGXULQJWKHGLVFRYHU\SURFHVV e.gWKHDWWRUQH\ZRUNSURGXFW
   GRFWULQHRUWUDGHVHFUHWV 
          7RWKHH[WHQW3ODLQWLIIVHHNVWRFRPSHO/*WRGRPRUH3ODLQWLIIV¶HIIRUWLVDWWKH
   YHU\OHDVWSUHPDWXUH,Q/*¶VREMHFWLRQVDQGUHVSRQVHVWR3ODLQWLIIV¶5)3V/*LQGLFDWHG
   WKDWLW³ZRXOGSURGXFHUHDVRQDEO\DFFHVVLEOHQRQSULYLOHJHGGRFXPHQWVLIDQ\LQLWV
   SRVVHVVLRQFXVWRG\RUFRQWUROUHVSRQVLYHWRWKLV5HTXHVWas limited through mutual
   agreement resulting from the parties’ meet and confer discussions´7KHSDUWLHVKDYH
   QRW\HWUHDFKHGLPSDVVHDQGDPRWLRQWRFRPSHOGLVFRYHU\LVWKHUHIRUHSUHPDWXUH0DQ\
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                                               EXHIBIT 1
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   __________________________________________________________________
                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

  Case No. SACV 19-00610-JLS (ADSx)                                         Date: July 31, 2019
  Title: Gary Sosenko et al v. LG Electronics U.S.A., Inc.
  Present: HONORABLE JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

           Terry Guerrero                                                   N/A
           Deputy Clerk                                                 Court Reporter

    Attorneys Present for Plaintiff:                            Attorneys Present for Defendant:

             Not Present                                                  Not Present

  Proceedings:           (In Chambers) SCHEDULING ORDER

          The Court has received and reviewed the parties’ Joint Rule 26(f) Report. (Doc. 22.) The
  Scheduling Conference set for hearing August 2, 2019, is VACATED, and the following
  schedule is set. Counsel’s attention is directed to the Court’s Civil Trial Order filed concurrently
  with this Minute Order.

          The parties were unable to agree upon a schedule. The Court adopts Defendant’s
  schedule, modified slightly to conform to the Court’s presumptive schedule. Additional time to
  serve rebuttal expert reports has been granted and the schedule has been adjusted accordingly.
  (See Jt. Rpt. at 7.)

          Below, the Court sets a Rule 23 class certification briefing schedule. The reports of
  experts who will offer opinions related to issues of class certification shall be disclosed no later
  than the filing of the motion (Plaintiff) and the opposition brief (Defendants).

          Except for the motion for class certification, counsel shall notice all hearings for the first
  available motions date at the time of the filing of the motion, and the deadlines for opposition
  and reply briefs shall be in accordance with Local Rule 7-9 and 7-10. (See
  <<http://www.cacd.uscourts.gov/honorable-josephine-l-staton>> for closed civil motions hearing
  dates; see also Local Rules 7-9 & -10 (deadlines for opposition and reply briefs).)

        The motion for class certification shall be noticed for hearing on the first available
  motions hearing date at the time of the filing of the motion, but no earlier than May 15, 2020.

          The dates and deadlines set forth below will not be continued except upon a showing of
  good cause, which generally requires unforeseeable circumstances. See Fed. R. Civ. P. 16(b)(4).
  Failure to conduct discovery diligently or a desire to engage in settlement discussions will not
  constitute good cause.

  ______________________________________________________________________________
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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA

                                           CIVIL MINUTES – GENERAL

  Case No. SACV 19-00610-JLS (ADSx)                                               Date: July 31, 2019
  Title: Gary Sosenko et al v. LG Electronics U.S.A., Inc.
          The Court will set a trial date and an exhibit conference date at the Final Pretrial
  Conference. The parties are directed to confer before the Final Pretrial Conference and to
  identify in the Proposed Final Pretrial Conference Order mutually agreeable trial dates within the
  90 days following the Final Pretrial Conference. Where the Court’s trial calendar permits, the
  Court will set the trial for a date agreed upon by the parties.

  Last Day to File a Motion to Add Parties and Amend Pleadings:                        October 1, 2019

  Last Day to File Motion for Class Certification:                                     January 31, 2020

  Last Day to File Opposition to Motion for Class Certification:                       March 20, 2020

  Last Day to File Reply in Support of Motion for Class Certification:                 May 1, 2020

  Fact Discovery Cut-off:                                                              July 3, 2020

  Last Day to File Motions (excluding Daubert Motions
  and all other Motions in Limine):                                                    July 17, 2020

  Last Day to Serve Initial Expert Reports:                                            July 17, 2020

  Last Day to Serve Rebuttal Expert Reports:                                           August 28, 2020

  Last Day to Conduct Settlement Proceedings:                                          September 11, 2020

  Expert Discovery Cut-off:                                                            September 25, 2020

  Last Day to File Daubert Motions:                                                    October 2, 2020

  Last Day to File Motions in Limine (excluding Daubert motions):                      October 23, 2020

  Final Pretrial Conference (10:30 a.m.):                                              November 20, 2020

  Trial Estimate: 1                                                                    7-10 days

             IT IS SO ORDERED.
                                                                                 Initials of Preparer: tg

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      This is the parties’ estimate. The Court may allot fewer days for trial.
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